                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN
                                   FLINT DIVISION

In Re: NICHOLAS WILFRED BASTIAN                        Case No. 11-33747-dof
       and ANN MARIA BASTIAN,
                    DEBTORS.
                                                   /   Chapter 7
AMERICAN EXPRESS BANK, FSB,

                          PLAINTIFF,                   Judge Daniel S. Opperman
      vs.

ANN M. BASTIAN                                         Adv. No. 11-03531-dof
a/k/a ANN MARIA BASTIAN,
                    DEFENDANT.
                                                   /

                   ORDER GRANTING FINAL JUDGMENT BY DEFAULT

       Pursuant to Federal Rule of Bankruptcy Procedure 7055, Federal Rule of Civil Procedure

55(b) and pursuant to the Clerk’s Entry of Default entered herein:

       IT IS HEREBY ORDERED AND DECREED that the Plaintiff’s Application for Entry of

Default Judgment is granted and that the amount of $5,570.13, representing the debt at issue owed by

the Defendant, Ann M. Bastian a/k/a Ann Maria Bastian, to the Plaintiff, American Express Bank,

FSB, is nondischargeable pursuant to 11 U.S.C. §523(a)(2)(A) and §523(a)(2)(C) and judgment is

entered in favor of the Plaintiff and against the Defendant in the amount of $5,570.13, plus costs in

the amount of $293.00 and attorneys’ fees in the amount of $1,350.00, for a total

nondischargeable judgment of $7,213.13, plus interest at the legal rate.



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Signed on December 23, 2011
                                               ____ _/s/ Daniel S. Opperman_    __
                                                    Daniel S. Opperman
                                                    United States Bankruptcy Judge




                                                                             EXHIBIT G
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